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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                      Criminal No. 15-165 (32) (JRT/LIB)

                                Plaintiff,
                                              MEMORANDUM OPINION AND
v.                                           ORDER ADOPTING REPORT AND
                                                RECOMMENDATION OF
BURNEY ABDULAH PEOPLES,                          MAGISTRATE JUDGE

                             Defendant.



      Deidre Y. Aanstad and Melinda A. Williams, Assistant United States
      Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600
      United States Courthouse, 300 South Fourth Street, Minneapolis, MN
      55415, for plaintiff.

      Ryan P. Garry, RYAN GARRY, ATTORNEY, LLC, 333 South Seventh
      Street, Suite 2350, Minneapolis, MN 55402, for defendant.


      Defendant Burney Abdulah Peoples was charged with conspiracy to distribute

various drugs along with forty other individuals.     He moved to suppress evidence

obtained from wire interceptions and electronic surveillance, including two wiretaps. On

December 2, 2015, United States Magistrate Judge Leo I. Brisbois issued a report and

recommendation (“R&R”) recommending that the Court deny Peoples’ motion because

law enforcement satisfied the necessity requirement and relied on the Court’s

authorization in good faith.       Peoples now objects to the Magistrate Judge’s

recommendation, arguing that the wiretaps were not necessary because law enforcement



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already had sufficient evidence to indict members of the conspiracy without them.

Finding that law enforcement met the necessity requirement and acted in good faith, the

Court will overrule Peoples’ objection , adopt the R&R, and deny Peoples’ motion to

suppress.


                                     BACKGROUND

       The Magistrate Judge thoroughly described the pertinent facts, and thus, the Court

will only briefly discuss them here. The challenged wiretaps, TT-1 and TT-3, were

authorized by Court order on March 2, 2015, and March 26, 2015, respectively. They

were supported by affidavits describing alternative investigative methods – including

confidential informants, controlled purchases, undercover investigations, physical

surveillance, trash searches, grand jury subpoenas, pen registers, search warrants, and

review of financial records – and explaining why each alternative was insufficient to

meet law enforcement needs.         The affidavits suggested that certain goals of the

investigation, including identifying the sources of supply and all coconspirators, would

not adequately be achieved by other investigative means. Additionally, the affidavit in

support of TT-3 stated that the subject of the investigation had likely given the phone

subject to TT-1 to his son, and thus, law enforcement had ceased monitoring its

communications.      The TT-3 affidavit also stated that during the twelve days of

interceptions on the first wiretap, law enforcement identified five additional

coconspirators and intercepted communications about the source of supply, but did not

identify the location or identity of the supply.


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       On August 10, 2015, Peoples filed a Motion to Suppress Wire Interceptions,

Electronic Surveillance, and Other Evidence. (Mot. to Suppress, Aug. 10, 2015, Docket

No. 599.) On December 2, 2015, the Magistrate Judge issued an R&R, recommending

that the Court deny Peoples’ motion. (R&R, Dec. 2, 2015, Docket No. 1,049.) On

December 15, 2015, Peoples objected to the Magistrate Judge’s recommendation. (Def.’s

Obj. to R&R, Dec. 15, 2015, Docket No. 1,094.)


                                       ANALYSIS

I.     STANDARD OF REVIEW

       After an R&R is filed by a magistrate judge, “a party may serve and file specific

written objections to the proposed findings and recommendations.” Fed. R. Crim. P.

59(b)(2). For a dispositive matter such as a motion to suppress evidence, “[t]he district

judge must consider de novo any objection to the magistrate judge’s recommendation.”

Fed. R. Crim. P. 59(b)(1), (3); see also 28 U.S.C. § 636(b)(1). “The objections should

specify the portions of the magistrate judge’s [R&R] to which objections are made and

provide a basis for those objections.”      Nayer v. Walvatne, No. 07-1958, 2009 WL

4527774, at *2 (D. Minn. Sept. 28, 2008).


II.    PEOPLES’ OBJECTIONS

       Peoples objects to the Magistrate Judge’s recommendation to deny his motion.

Specifically, Peoples argues that the information gathered from the wiretaps should be

suppressed because the wiretaps were not necessary for indictment, and therefore, they

did not satisfy the statutory necessity requirement.

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       A wiretap application must include a “statement as to whether or not other

investigative procedures have been tried and failed or why they reasonably appear to be

unlikely to succeed if tried or to be too dangerous.”        18 U.S.C. § 2518(1)(c).     To

authorize a wiretap, a judge must find that “normal investigative procedures have been

tried and have failed or reasonably appear to be unlikely to succeed if tried or to be

dangerous.” Id. § 2518(3)(c). This “necessity requirement . . . insures that wiretaps are

not routinely employed as the initial step in an investigation.” United States v. Milliner,

765 F.3d 836, 839 (8th Cir. 2014) (quoting United States v. Jackson, 345 F.3d 638, 644

(8th Cir. 2003)).

       Peoples contends that the Magistrate Judge did not respond to his argument that

the wiretaps were not necessary because the evidence was already sufficient for an

indictment prior to the wiretaps. However, the Magistrate Judge noted multiple times

that law enforcement had reasonably attempted to use other techniques and that the

wiretaps were aimed at “identifying the Beasley [organization] sources of supply, all the

Beasley [organization] co-conspirators, the scope and extent of the conspiracy, and

sufficient incriminating evidence against the member[s] of the Beasley [organization]

necessary for their successful prosecution.” (R&R at 20; see also id. at 7, 10, 11, 12, 16

(discussing the purposes of the wiretaps).) Thus, the goals of the wiretap extended

beyond supporting the indictment of already-identified coconspirators.

       Peoples has not cited to any cases suggesting that law enforcement’s investigation

must stop once they have sufficient evidence to indict a certain percentage of

coconspirators, and the Court finds no such rule. In fact, in United States v. Milliner, the

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Eighth Circuit rejected similar arguments and found that wiretaps were proper even if law

enforcement already possessed enough evidence to prosecute some actors. 765 F.3d at

839. It reasoned that law enforcement could pursue the wiretaps because it still lacked

information about the sources of the defendant’s drugs, and the wiretaps would “shed

light on the full scope of the [drug] conspiracy.” Id. at 839-40. The circumstances here

are almost identical. While law enforcement had sufficient evidence to charge many of

the coconspirators, it sought wiretaps to identify additional coconspirators, the source of

the drugs, and shed further light on the conspiracy as a whole. Thus, the Court rejects

Peoples’ argument that the wiretaps were not necessary because some members of the

conspiracy could have been charged before the wiretaps based on existing evidence.

       Additionally, Peoples does not challenge the Magistrate Judge’s alternative

holding – that suppression is not proper because the officers relied on the wiretap

authorization in good faith.     (See R&R at 20.)       Under the good faith principle,

suppression is not warranted where it was objectively reasonable for the officer to rely on

the judge’s authorization. United States v. Leon, 468 U.S. 897, 922 (1984); see also

United States v. Moore, 41 F.3d 370, 376 (8th Cir. 1994) (finding that the good faith

doctrine recognized in Leon applies to statutory wiretap provisions). Peoples does not

point to any aspect of the wiretap authorization or supporting affidavits suggesting that

the officers’ reliance was unreasonable, and the Court does not find any. See United

States v. Grant, 490 F.3d 627, 632-33 (8th Cir. 2007) (describing recognized

circumstances in which reliance would be objectively unreasonable).         Thus, even if

Peoples was correct and law enforcement did not satisfy the necessity requirement,

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suppression would still not be warranted because the officers relied in good faith on the

judicial determination that the wiretap requirements were satisfied.

       Reviewing the challenged portion of the R&R de novo, the Court finds that law

enforcement met the necessity requirement and operated in good faith, and therefore, the

Court will overrule Peoples’ objection to the R&R and deny his motion to suppress.


                                         ORDER

       Based on the foregoing, and the records, files, and proceedings herein, the Court

OVERRULES Peoples’ objection to the R&R [Docket No. 1094], and ADOPTS the

Magistrate Judge’s R&R [Docket No. 1049]. IT IS HEREBY ORDERED that Peoples’

Motion to Suppress Wire Interceptions, Electronic Surveillance, and Other Evidence

[Docket No. 599] is DENIED.



DATED: April 25, 2016                      ___________                     _________
at Minneapolis, Minnesota.                           JOHN R. TUNHEIM
                                                          Chief Judge
                                                   United States District Court




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